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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                      (MIAMI DIVISION)


 MELISSA BREZAULT,                                                Case No.: 1:22cv22248

                                Plaintiff,
                                                                  NOTICE OF REMOVAL
                     v.

 BRITISH AIRWAYS PLC,

                                Defendant.


 ________________________________________________/


        Defendant BRITISH AIRWAYS PLC. (hereinafter “British Airways”), by and through its

 attorneys, Condon & Forsyth LLP, hereby removes this action from the Circuit Court of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida, to the United States District

 Court for the Southern District of Florida, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446.

 In support of this Notice of Removal, British Airways states as follows:

        1.      On or about June 30, 2022, Plaintiff MELISSA BREZAULT commenced this action

 against Defendant British Airways by filing a Complaint in the Circuit Court of the Eleventh Judicial

 Circuit in and for Miami Dade County. A copy of the Complaint is attached as Exhibit A and

 Acceptance of Service is attached as Exhibit B. No further proceedings have been had in this action.

        2.      The Complaint seeks damages for personal injuries Plaintiff sustained while traveling

 as a passenger on board a British Airways flight that was traveling from Miami to London on January

 27, 2022.
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        3.      Based on the allegations in the Complaint, this Court has original jurisdiction over this

 action because of the existence of a federal question pursuant to 28 U.S.C. § 1331 and, accordingly,

 it is one which may be removed to this Court pursuant to 28 U.S.C. § 1441(a).

        4.      Based on the allegations in the Complaint, the transportation out of which the subject

 matter of this action arose was “international carriage” within the meaning of a treaty of the United

 States known as the Montreal Convention. Convention for the Unification of Certain Rules Relating

 to International Carriage by Air, Done at Montreal, Canada, on 28 May 1999, reprinted in S. Treaty

 Doc. 106-45, CCH Av. L. Rep. ¶ 27,400-59, 1999 WL 33292734 (1999). Accordingly, the rights

 and liabilities of the parties to this action are governed exclusively by the provisions of the

 Montreal Convention. See, e.g., Ugaz v. Am. Airlines Inc., 576 F. Supp. 2d 1354 (S.D. Fla. 2008).

        5.      Plaintiff alleges that this action is governed by the Montreal Convention, and

 invokes the Montreal Convention throughout the Complaint. See Exhibit A ¶¶ 1-2, 14-24.

        6.      Because this action arises under a treaty of the United States, the action may be

 removed to this Court pursuant to 28 U.S.C. §§ 1331 and 1441(a).

        7.      Alternatively, this Court has original jurisdiction over this action pursuant to 28 U.S.C.

 § 1332 based upon diversity of citizenship because Plaintiff is a citizen of Florida, British Airways is

 a foreign corporation duly organized and existing under the laws of the United Kingdom, and, upon

 information and belief, the amount in controversy exceeds $75,000, exclusive of interest and costs.

        8.      Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal is filed in the United States

 District Court for the Southern District of Florida, which is the District in which the state court

 action is pending.
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        9.      This Notice of Removal is timely filed with this Court pursuant to 28 U.S.C. §

 1441(d).

        10.     British Airways will promptly provide all parties with written notice of the filing of

 this Notice of Removal and shall file a copy of the Notice of Removal with the Clerk of the Circuit

 Court of the Eleventh Judicial Circuit in and for Miami-Dade County as required by 28 U.S.C. §

 1446(d).

        WHEREFORE, Defendant BRITISH AIRWAYS PLC, prays that this action now pending

 in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County be removed

 therefrom to this Court.

  Dated: July 20, 2022                           Respectfully submitted,
                                                 CONDON & FORSYTH LLP

                                                 By: /s/ Lisa B. Heller
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                                                         - and -

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                                                 Attorneys for Defendant
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 20, 2022, a true and correct copy of the foregoing was

 electronically filed with the Clerk of Court using the CM/ECF system, which will send a notice

 of electronic filing to the parties of record.




                                                  /s/ Lisa B. Heller
                                                     Lisa B. Heller
